                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN

                                  Case No. 2:22-cv-00652-WED

 PREPARED FOOD PHOTOS, INC. f/k/a
 ADLIFE MARKETING &
 COMMUNICATIONS CO., INC.,

        Plaintiff,

 v.

HOMETOWN PUBLICATIONS II, INC.
d/b/a EXPRESS NEWS,

         Defendant.


      STIPULATION OF DISMISSAL AS TO KARL’S COUNTRY MARKET ONLY

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(ii), plaintiff Prepared Food Photos,

Inc. f/k/a Adlife Marketing & Communications Co., Inc. (“Plaintiff”) and defendant Karl’s

Country Market, Inc. (“Karl’s Country Market”) hereby jointly and mutually stipulate to the

dismissal of all claims asserted or that could have been asserted against Karl’s Country Market

only, with prejudice, with each of Plaintiff and Karl’s Country Market to bear the cost of its own

attorneys’ fees and costs incurred with respect to any claims between them. Plaintiff and Karl’s

Country Market have entered into a settlement agreement that fully resolves the claims in this

lawsuit between Plaintiff and Karl’s Country Market.

       For the avoidance of doubt, nothing in this Stipulation of Dismissal is intended to

dismiss/discontinue any claims against defendant Hometown Publications II, Inc.

       Respectfully submitted on September 29, 2022.

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                                                          Attorneys for Defendant
 By: /s/ Daniel DeSouza______
         Daniel DeSouza, Esq.                             By: /s/ Jeffrey Leavell________
                                                                  Jeffrey Leavell, Esq.




                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 29, 2022, I electronically filed the foregoing document

with the Clerk of the Court using CM/ECF, which will electronically serve all counsel of record.


                                                 /s/ Daniel DeSouza___
                                                 Daniel DeSouza, Esq.




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